537 F.2d 384
    PEOPLE OF the STATE OF CALIFORNIA on the relation of the AIRPOLLUTION CONTROL OFFICER, COUNTY OF LOS ANGELES,Plaintiff-Appellant,v.Captain C. E. STASTNY, Commanding Officer of the Long BeachNaval Station, et al., Defendants-Appellees.
    No. 72-2905.
    United States Court of Appeals,Ninth Circuit.
    July 15, 1976.
    
      Melissa A. Tabman, County Counsel (argued), Los Angeles, Cal., for plaintiff-appellant.
      Jaques B. Gelin, Atty.  (argued), Dept. of Justice, Washington, D. C., and Jan Chatten, Deputy Atty. Gen.  (argued), Los Angeles, Cal., for defendants-appellees.
      OPINION
      Before WALLACE and SNEED, Circuit Judges, and EAST, District Judge.*
      PER CURIAM:
    
    
      1
      The disposition of the above appeal was withdrawn from submission and deferred pending the disposition of two cases pending in the Supreme Court of the United States.  Those cases have now been decided and are entitled Hancock v. Train, --- U.S. ----, 96 S.Ct. 2006, 48 L.Ed.2d 555 (1976); and Seeber v. Alabama, --- U.S. ----, 96 S.Ct. 2643, 48 L.Ed.2d 384 (1976).  It is, therefore, now ordered that the above appeal be submitted for disposition.
    
    
      2
      Upon the authority of the Supreme Court's decision in Hancock, the judgment of the District Court is affirmed.
    
    
      3
      AFFIRMED.
    
    
      
        *
         Honorable William G. East, Senior United States District Judge for the District of Oregon, sitting by designation
      
    
    